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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION - CINCINNATI

ZANIB ZULFIQAR,                         :         Case No. 1:20-cv-63
                                        :
             Plaintiff,                 :         Judge Matthew W. McFarland
                                        :
 vs.                                    :
                                        :
CHAD F. WOLF, SECRETARY OF              :
UNITED STATES DEPARTMENT                :
OF HOMELAND SECURITY, et al.,           :
                                        :
             Defendants.                :


       ORDER ADOPTING REPORT AND RECOMMENDATION (DOC. 24)


       The Court has reviewed the Report and Recommendation (Doc. 24) of United

States Magistrate Judge Karen L. Litkovitz, to whom this case is referred pursuant to 28

U.S.C. § 636(b). As no objection to the Report and Recommendation has been filed and

the time to do so has expired, the Court ADOPTS the Report and Recommendation in its

entirety. Accordingly, pursuant to Fed. R. Civ. P. 41(b), the Court DISMISSES the claims

against defendants Chad F. Wolf, Acting Secretary, Department of Homeland Security

(DHS), and Kenneth T. Cuccinelli, Principal Deputy Director of the U.S. Citizenship and

Immigration Services (USCIS), and Acting Deputy Secretary of Homeland Security

Director of United States Citizenship and Immigration Services (USCIS).

       IT IS SO ORDERED.

                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF OHIO


                                            By:      /s/ Matthew W. McFarland b
                                                  JUDGE MATTHEW W. McFARLAND
